
907 F.Supp. 432 (1995)
FEDERAL-MOGUL CORPORATION, Plaintiff,
The Torrington Company, Plaintiff-Intervenor,
v.
The UNITED STATES, Defendant,
SNR Roulements, et al., Defendants-Intervenors.
Slip Op. 95-181,
Court No. 92-06-00422.
United States Court of International Trade.
November 14, 1995.

ORDER
TSOUCALAS, Judge.
Upon consideration of the motion filed by SNR Roulements to modify judgment and issue a further remand order, defendant's response to the motion, and other pertinent papers, it is hereby
ORDERED that the motion is granted and the case is remanded to the Department of Commerce for recalculation of dumping margin using the methodology for calculating an adjustment to USP for home market Value-Added Taxes that the Department devised in Gray Portland Cement and Clinker From Mexico, 58 Fed.Reg. 25803 (Apr. 28, 1993) and that was the subject of Federal Mogul v. United States, 63 F.3d 1572 (Fed.Cir.1995); and it is further
ORDERED that the remand will run concurrently with the remand ordered in Court No. 92-07-00483.
